    Case 5:20-cv-00746-JKP-HJB Document 85 Filed 06/21/22 Page 1 of 4




                       UNITED STATES DISTRICT COURT
                        WESTERN DISTRICT OF TEXAS
                               SAN ANTONIO

______________________________________

MELODY JOY CANTU AND DR. RODRIGO                5:20-CV-0746 JKP – HJB
CANTU,

                           Plaintiffs,

                  v.

DR. SANDRA GUERRA and DIGITAL
FORENSICS CORPORATION, LLC,

                            Defendants.

______________________________________




PLAINTIFFS MELODY JOY CANTU AND DR. RODRIGO CANTU’S ADVISORY TO

THE COURT REGARDING DR. GUERRA’S MOTION TO ENFORCE SCHEDULING

                       ORDER AND FOR SANCTIONS.
       Case 5:20-cv-00746-JKP-HJB Document 85 Filed 06/21/22 Page 2 of 4




        Pursuant to the Court’s Order in Dkt. No. 75, Melody Joy Cantu’s and Dr. Rodrigo

Cantu’s (“Plaintiffs”) counsel, conferred in good faith via Zoom meeting, regarding the specific

relief requested in the motion filed by Co-Defendant Dr. Guerra in Dkt. No. 73. The following is

Plaintiffs’’ advisory to the Court, as Co-Defendants opted to have their own Joint Advisory

instead of a joint one including all parties:

    1. Parties conferred via zoom meetings regarding the specific relief requested in the motion

        in Dkt. No. 73.

    2. Parties could not come to an agreement on mediation and agreed to have the Court

        decide.

    3. Parties then discussed the Joint Advisory. Plaintiffs’ counsel suggested filing one Joint

        Advisory. However, Counsel for Dr. Guerra, Ricardo G. Cedillo, stated he wanted to file

        a separate Joint Advisory, as that is the local practice in Texas.

    4. Therefore, there are now two separate Advisories to the Court. One from Co-Defendants

        and one from Plaintiffs.

    5. Plaintiffs repeated their offer to mediate with Co-Defendant Digital Forensics

        Corporation, LLC (“DFC”). However, counsel for DFC stated they did not want to

        participate in mediation without Co-Defendant Dr. Guerra.




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      Case 5:20-cv-00746-JKP-HJB Document 85 Filed 06/21/22 Page 3 of 4




Dated: June 21, 2022


                                            Respectfully submitted,

                                            /s/ Tor Ekeland

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                                            Counsel for Plaintiffs Melody Joy Cantu and
                                            Dr. Rodrigo Cantu


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       Case 5:20-cv-00746-JKP-HJB Document 85 Filed 06/21/22 Page 4 of 4




                                       Certificate of Service

I certify that on this 21st of June 2022, a true and correct copy of the foregoing was electronically

filed with the Clerk of the Court using the CM/ECF system which will send electronic

notification of such filing to the parties on record.


                                                                             /s/ Tor Ekeland




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